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                        AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT


 I, Joel N. Hegarty, a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and Explosives,

 being duly sworn according to the law, hereby state that the facts set forth in this affidavit are true

 and correct to the best of my knowledge, information, and belief:

                                            INTRODUCTION

        1.      This affidavit is submitted in support of an application for an arrest warrant for the

 Defendant, LUIS DANIEL MARQUEZ. As set forth herein, there is probable cause to believe that

 from a time unknown but not later than on or about May 6, 2021, through on or about October 20,

 2021, in the State and District of Colorado, MARQUEZ. violated federal law, specifically:

 conspiring to violate 18 U.S.C. 922(a)(1)(A), manufacturing or dealing firearms without a license,

 in violation of 18 U.S.C. § 371; AND manufacturing or dealing firearms without a license, in

 violation of 18 U.S.C. 922(a)(1)(A).


                              AGENT BACKGROUND AND EXPERIENCE


        2.      Your affiant is a Special Agent (SA) with the Bureau of Alcohol, Tobacco, Firearms

 and Explosives (ATF), and has been since February 2020. Your affiant is an investigator and law

 enforcement officer of the United States, within the meaning of Title 18, United States Code,

 Section 2510(7) that is an officer of the United States empowered by statute in the United States

 Code, and the Colorado Statutory code. Your affiant is authorized under the Federal Rules of

 Criminal Procedure, Rule 41(a)(1)(C) as a Federal law enforcement officer who is engaged in

 enforcing the criminal laws, and is within any category of officers authorized by the Attorney

 General to request a search and arrest warrant. Your affiant has been employed as a Special Agent

 with the ATF for approximately two (2) years. Your affiant’s primary duties consist of the


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 enforcement of federal firearms laws, armed narcotics trafficking laws and conspiracy laws. Prior

 to graduating from the Federal Law Enforcement Training Center in 2020 and becoming an ATF

 Special Agent, your affiant was employed with Ernst and Young for over four (4) years, working as

 a Senior Forensic Accountant in Ernst and Young’s forensic accounting practice. While employed

 as an ATF Special Agent, you affiant has conducted and participated in numerous federal

 investigations. Your affiant has participated in the execution of multiple federal and state search

 warrants involving violent crime, organized crime, illegal firearms possession, and the use and

 trafficking of narcotics and armed narcotics trafficking. Your Affiant is familiar with federal

 criminal laws pertaining to firearms violations.


        3.      The statements contained in this affidavit are based, in part, on information provided

 by Special Agents and Task Force Officers of the ATF and other law enforcement officers; on

 conversations held with police officers; and on your affiant’s background and experience as a

 Special Agent of the ATF. Your affiant has not included each and every fact known to your affiant

 concerning this investigation. Your affiant has set forth only the facts that your affiant believes are

 necessary to establish the required foundation for an order authorizing the arrest of LUIS DANIEL

 MARQUEZ.


                                         PROBABLE CAUSE

        4.      The United States of America, including the ATF and the Drug Enforcement

 Administration (DEA), previously conducted a criminal investigation into suspected firearms and

 drug trafficking activities of LUIS DANIEL MARQUEZ, who was a known drug user and had a

 previous conviction for a misdemeanor crime of domestic violence, in the Denver, Colorado area.

        5.      On November 20, 2020, Adams County SWAT, North Metro Drug Task Force

 (NMDTF) detectives, DEA agents, and ATF agents executed a search warrant in Commerce City,


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 Colorado. Adams County SWAT located MARQUEZ in the shed, along with multiple firearms,

 including numerous firearms containing no serial numbers (“ghost guns”), hundreds of rounds of

 ammunition, firearms manufacturing equipment, firearms parts and accessories and approximately

 260 gross grams of suspected methamphetamine.

        6.      On November 20, 2020, MARQUEZ was interviewed at the Adams County Sheriff’s

 Office Substation, subsequent to his arrest. MARQUEZ was advised of his Miranda warnings;

 MARQUEZ waived his rights and agreed to the interview. During the interview, MARQUEZ stated

 he had been manufacturing AR-15 style rifles and selling them to individuals who could not

 purchase firearms due to their criminal history. Additionally, MARQUEZ stated that approximately

 a week and a half prior to November 20, 2020, MARQUEZ sold an AR-style firearm and

 approximately one thousand (1,000) rounds of .223 caliber ammunition in exchange for

 approximately one (1) pound of methamphetamine to an individual named Jorge. MARQUEZ

 admitted to the SAs the reason he personally makes firearms, instead of purchasing them from a

 Federal Firearms Licensee, is because he is unable to possess firearms or ammunition due to his

 previous conviction of a misdemeanor crime of domestic violence. MARQUEZ said that none of

 the firearms he sells have serial numbers, which are commonly referred to as “ghost guns,” because

 he purchases firearm parts and accessories and has all the equipment he needs to manufacture them

 into fully functioning firearms.

        7.      On May 27, 2021, ATF SAs arrested MARQUEZ at 2002 28th Ave, Apt 3, Greeley,

 CO 80236, pursuant to a federal arrest warrant. Marquez had been indicted in the District of

 Colorado on April 22, 2021, and charged with possession of methamphetamine, illegal possession

 of firearms, and possession of an unregistered short barreled rifle. He had an initial appearance on




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 those charges in case number 21-cr-00145-CMA on May 27, 2021, and was subsequently released

 on bond on June 2, 2021. He remains on bond.

        8.      Subsequent to the arrest on May 27, 2021, Connie Martinez, who is the registered

 owner of a silver Toyota Prius with license plate number CEQ538, which Martinez was in

 possession of at the time of arrest, and who is also the listed active renter of 2002 28th Ave, Apt 3,

 Greeley, CO 80236, gave ATF SAs consent to search the vehicle, residence and detached carport

 storage unit. The arrest of MARQUEZ and the consent search of the above listed vehicle and

 residence resulted in the following items being recovered:

                    a.   Two (2) gross grams of suspected methamphetamine
                    b.   Drug paraphernalia
                    c.   Two (2) .45 ACP caliber pistols
                    d.   Nine (9) rounds of assorted ammunition
                    e.   Firearms parts and accessories
                    f.   Metal milling tools
                    g.   Multiple empty boxes of AR-15 upper receivers
                    h.   Multiple empty boxes of AR-15, sixty-five (65) round drum magazines
                    i.   Two (2) cellular telephones

        9.      On June 4, 2021, a federal search warrant was issued for the two (2) cellular phones

 recovered on May 27, 2021, belonging to MARQUEZ. The two cellular phones are described as a

 OnePlus cellular phone, IMEI: 990017120600065, and a Motorola cellular phone, IMEI:

 355539116372820.

        10.     After a forensic extraction of the content from the cellular phones was completed,

 the following picture was recovered from one of MARQUEZ’s devices showing a purchase order

 from SafetyHarborFirearms.com. The product purchased is described as a quantity of seven (7) AR-

 15 short pistol kits, for a total of $1,223.05. The billing address information listed on the purchase

 order is Saul Escobedo, 5770 29th Street, 116, Greeley, CO 80634, 251-367-0118,

 saul_escobedo@live.com.



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         11.     The following picture was recovered from the forensic extraction of the cellular

 phones belonging to MARQUEZ as described above. The picture is a packing slip for a Polymer80

 Starter Kit. Based on my training and experience dealing with firearms manufacturing

 investigations, I know this to be reference to firearms parts and accessories. The picture of the

 packing slip showed the parts and accessories were shipped to Saul Escobedo, 5770 29th Street, Apt

 116, Greeley, CO 80634. The ship date is listed as April 20, 2021. Based on my training and

 experience, I know individuals to keep records of their purchases in case items purchased are

 damaged, not the correct items as ordered, or for various other reasons. I know individuals to keep

 their records on their person, in their vehicles, or in their residences.




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        12.     The following pictures were obtained from the forensic examination of the

 aforementioned cellular phones seized from MARQUEZ subsequent to his arrest from a federal

 arrest warrant. The pictures appear to be taken at the same location as each other, and show

 electronic devices being utilized to assist with the manufacturing of firearms.




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        13.     The following pictures were obtained from the forensic examination of the

 aforementioned cellular phones seized from MARQUEZ subsequent to his arrest from a federal

 arrest warrant. The pictures appear to be taken at the same location as each other, and show

 electronic devices being present and likely utilized during the manufacturing and distribution of

 firearms.




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        14.     The location of the pictures above, in paragraph 13, is believed to be 2002 28th Ave,

 Apt 3, Greeley, CO 80236, based on items in the pictures and the surroundings matching the

 description of the living room area of 2002 28th Ave, Apt 3, Greeley, CO 80236. The following

 photograph is a still image taken from the entrance video prior to the consent search of 2002 28th

 Ave, Apt 3, Greeley, CO 80236, as previously described on May 27, 2021.




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        15.     Also recovered from one of MARQUEZ’s phones were lengthy conversations

 between MARQUEZ and ESCOBEDO JR. on TextNow, a texting and calling application. The

 telephone communicating with MARQUEZ and ascribed to ESCOBEDO JR. by investigators used

 251-367-0118, a telephone number which was included in the contact info for the purchase order in

 the previous paragraph. Further, according to law enforcement databases, that phone number was

 registered to Saul Escobedo in February of 2021, and is still registered to him. Based on my

 training and experience, I know individuals to keep their cellular phones on their person, in their

 vehicles, or in their residences. In MARQUEZ’s telephone, the user of the telephone number


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 ascribed to ESCOBEDO JR is reflected in MARQUEZ’s contacts as “Saul.” The conversations

 involved lengthy discussions of purchasing a large amount of firearms parts and accessories, selling

 firearms for specific prices, and storing firearms and firearms parts and accessories at a storage unit

 somewhere in the Denver or Greeley metro areas. The following conversations do not represent all

 conversations that took place between May 6, 2021 and May 27, 2021. Your Affiant included only

 selective conversations that demonstrate illegal firearms trafficking discussions that took place

 between MARQUEZ and ESCOBEDO JR. The following discussions are listed chronologically and

 in verbatim form:

        16.     On May 6, 2021, the following discussion took place between MARQUEZ and

 ESCOBEDO JR.:

                     a. ESCOBEDO JR.: That’s the full auto trigger it dont come with more parts?
                     b. ESCOBEDO JR.: Look
                     c. ESCOBEDO JR.: If i get the Glock 17 with this uper how mych can i send it
                        for
                     d. MARQUEZ: Like 1k
                     e. MARQUEZ: That upper is for a 1911 isn’t it
                     f. MARQUEZ: Like 1k for the regular ones
                     g. MARQUEZ: Damn I didn't now they made ones like that for glocks
                     h. MARQUEZ: To me that seems like alot to invest in something that only
                        bring a small profit

        17.     On May 6, 2021, the following discussion took place between MARQUEZ and

 ESCOBEDO JR.:

                     a. ESCOBEDO JR.: That AR upper is bad ass how can i buy from them?
                     b. MARQUEZ: I was just showing you how much they go for and we have 20
                        on them alone we have 12k invested
                     c. ESCOBEDO JR.: Fuck yah, im starting to get impatient with Lancaster
                        Tactical im blowing them up i want them lowers so we can make some
                        money

        18.     On May 6, 2021, the following discussion took place between MARQUEZ and

 ESCOBEDO JR.:



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                 a. ESCOBEDO JR.: Hell yah hey how much you sold that uzi andAK for
                 b. MARQUEZ: I haven't yet but around 2-3k each
                 c. ESCOBEDO JR.: Fuck yahLet me know when you're going to go sell them
                    so I can go with you

       19.   On May 6, 2021, the following discussion took place between MARQUEZ and

 ESCOBEDO JR.:

                 a. MARQUEZ: Yea just come thru tomorrow so we can put them together n I
                    might need you to get me a storage
                 b. ESCOBEDO JR.: Okay we can do that would you have the money to morrow
                    in the morning so i can give it to alissa to pay the guy for the windshield she
                    said he would here around 8-9 am
                 c. ESCOBEDO JR.: We still missing the BCGs we should get them on sat
                 d. MARQUEZ: Yea I have it right now but I don't want to hear it from Connie
                 a. ESCOBEDO JR.: Yah no your good just as long as i can pay this guy you
                    know
                 b. MARQUEZ: Should I leave the money up top of the dryer or you want to
                    meet up after I drop off connie
                 c. ESCOBEDO JR.: Umm shes going to work huh you cab leave it there i can
                    pick it up hey the storages did you want to go see them to morrow?
                 d. MARQUEZ: Yea I want to get one that's near her job
                 e. ESCOBEDO JR.: Around 4pm we going to denver so what time well you be
                    back from taking Connie?
                 f. MARQUEZ: I drop her off at 8am n I'm free until around 5
                 g. ESCOBEDO JR.: Yah there one by Home Depot they ate bad ass
                 h. ESCOBEDO JR.: Okay ku we can go see the storages and move
                 i. some thing in ill get it under my name

       20.   On May 8, 2021, the following discussion took place between MARQUEZ and

 ESCOBEDO JR.:

                 e. MARQUEZ: Can you stop by the storage n get the red case
                 f. MARQUEZ: I don't want Connie to know where it's at or that I even have
                    one
                 g. ESCOBEDO JR.: Okay yah
                 h. MARQUEZ: Thank and I'ma have some money for you this weekend
                    probably Al ur money n then some
                 i. ESCOBEDO JR.: Ok how would it be? So you can start seen what i can get
                    so i can order some thing
                 j. MARQUEZ: I'm not sure yet but if things go right I'll have 3-6 k for you
                 a. ESCOBEDO JR.: Okay fuck yah hopefully everything gos good to get like
                    6k but yah just let me know by wen do you want the Uzi?
                 b. MARQUEZ: I already have it in Denver


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       21.   On May 9, 2021, the following discussion took place between MARQUEZ and

 ESCOBEDO JR.:

                 a. ESCOBEDO JR.: I feel like im missing them plate that are out side of trigger
                 b. MARQUEZ: No it should all be they're
                 c. MARQUEZ: In the storage theyre Is 2 more triggers and thebl rest of the
                    parts to complete it
                 d. ESCOBEDO JR.: Okay where do you have them in? So i can go
                 e. MARQUEZ: In the duffle bag

       22.   On May 9, 2021, the following discussion took place between MARQUEZ and

 ESCOBEDO JR.:

                 a. ESCOBEDO JR.: I have to place the lower receiver order for 100 ones i do
                    that ill see what i got lift and get more thing
                 b. MARQUEZ: Personal ones
                 c. ESCOBEDO JR.: They look bad ass man im starting to get bug with them
                    othere ones have Heard shit from those lowers
                 d. MARQUEZ: Order a few of the skeleton ones on gunbroker
                 e. ESCOBEDO JR.: I well i order if i can like 5 of them
                 f. MARQUEZ: I will be getting money here shortly so we won't be having
                    these problems anymore
                 g. MARQUEZ: Did you get that trigger put on
                 h. ESCOBEDO JR.: Fuck no i couldnt Figure it out i need to seen one put
                    together so I can get it i was going to stop by the Storage to get those other
                    ones you're talking about

       23.   On May 17, 2021, the following discussion took place between MARQUEZ and

 ESCOBEDO JR.:

                 a. MARQUEZ: If you can email fostech to see if they can help with the red
                    assembly of the binary trigger
                 b. ESCOBEDO JR.: What is there wab site is it fostech.com?
                 c. MARQUEZ: Yea
                 d. ESCOBEDO JR.: Do you just want me to ask them if they can send me more
                    infor on how to put the binary trigger kit together
                 e. MARQUEZ: Yea
                 f. ESCOBEDO JR.: Okay i well send them one im trying to get ahold of
                    Ghostgunner too about that 3D
                 g. MARQUEZ: Okay
                 h. ESCOBEDO JR.: Ghost gunner got back to me this is what they said still
                    havnt hurd back about the Trigger assembly yet


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                 i. MARQUEZ: Yea so that'll be around oct ,Nov dec
                 j. ESCOBEDO JR.: Yah man i wander how we can stay buys for now to make
                    money
                 k. MARQUEZ: I just need to order some lowers and get a router
                 l. ESCOBEDO JR.: Let me know what i can do to help well right now i cant im
                    broke but wen i get paid ill try to get some too so we can start selling some

       24.   On May 19, 2021, the following discussion took place between MARQUEZ and

 ESCOBEDO JR.:

                 a. ESCOBEDO JR.: Nice fuck hey you think we are going to us that Machine as
                    much? The 3D printer
                 b. MARQUEZ: What do you mean
                 c. ESCOBEDO JR.: Yeah that 3-D printer that we're getting do you think after
                    all this shit goes down we will be using it as much?
                 d. ESCOBEDO JR.: For the lower receivers
                 e. MARQUEZ: Yea bc we going to stock up before anything plus I pay my guy
                    100 per one that he does so on just those 100 that we already preorder that's
                    10k that I'ma be saving alone
                 f. MARQUEZ: And that machine does engravings , skeletonizing
                 g. ESCOBEDO JR.: Okay hell yah I haven't heard anything for those lowers are
                    we pre-ordered how long do you think it well take to get them?
                 h. MARQUEZ: They said late June or July
                 i. ESCOBEDO JR.: Yah i was reading thats sick
                 j. ESCOBEDO JR.: Oh okay yah i need to see if i can put a oder in
                 k. ESCOBEDO JR.: To have more pre-ordered
                 l. MARQUEZ: Yea after we get rid of those 100 (200k) and if we run out
                    (which I doubt bc I'ma pre order more) I'll be onto another hustle with all that
                    money I've made with the guns
                 m. ESCOBEDO JR.: Hell yah

       25.   On May 21, 2021, the following discussion took place between MARQUEZ and

 ESCOBEDO JR.:

                 a.   MARQUEZ: What's the password to the gate
                 b.   ESCOBEDO JR.: Its #3113*
                 c.   ESCOBEDO JR.: Waite ite *3113#
                 d.   ESCOBEDO JR.: Hey bro did you get the rest of the money?
                 e.   MARQUEZ: I'm on. My way for it
                 f.   ESCOBEDO JR.: Okay
                 g.   MARQUEZ: Where is that place at I Forgot
                 h.   ESCOBEDO JR.: 3546 W 29th St, Greeley, CO 80634




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        26.     On Tuesday July 20, 2021, an ATF SA, while working in an undercover capacity

 (UC), conducted an undercover transaction with ESCOBEDO JR. While driving in an Undercover

 Vehicle (UCV), the ATF UC was approaching a residence located at 4712 Lassen Ct. Greeley, CO,

 and observed a Cadillac sedan parked on the street, a pink sedan in the driveway and a blue Subaru

 sedan parked on the street. The blue Subaru had a Colorado License Plate with the observable tag

 SESCO. The Colorado Department of Motor Vehicles has SAUL RAMIREZ ESCOBEDO listed as

 the registered owner of a 2017 Subaru WRX with a License Plate SESCO. As the ATF UCV parked

 behind a white Cadillac, the ATF UC observed a Hispanic male only known to law enforcement as

 FNU LNU in his 20's, standing over 6'00" tall, athletic build with a shaved head and no facial hair,

 wearing a black jersey with silver numbers and black shorts exit the residence via the front door.

 Simultaneously, the driver of the blue Subaru, identified as ESCOBEDO JR., exited the blue Subaru

 and walked to meet FNU LNU. ESCOBEDO JR. and FNU LNU entered the residence and then

 ESCOBEDO JR. exited via front door as FNU LNU opened the garage door. The UC then parked

 the UCV in front of the blue Subaru and ESCOBEDO JR. opened the rear passenger door of the

 blue Subaru carrying two small gun cases and a plastic bag. The UC advised the UC didn't want the

 cases, so ESCOBEDO JR. removed the firearms and took possession of the cases. The UC inquired

 if ESCOBEDO JR. built the firearms, he affirmed. The UC confirmed the price of the two firearms

 which ESCOBEDO JR. stated "32". The UC handed ESCOBEDO JR. $3,200.00 in currency, which

 he accepted. The UC inquired how long till ESCOBEDO JR. would have more firearms to sell,

 ESCOBEDO JR. advised approximately one month as there were parts on order. ESCOBEDO JR.

 advised both firearms sold to the UC were brand new, built by ESCOBEDO JR., and test fired. The

 UC inquired what the same firearms without any accessories would cost, ESCOBEDO JR. advised

 $1,400.00 for both pistol and rifle variants. ESCOBEDO JR. pointed out there was no serial



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 numbers on either firearm. The UC advised that the UC was taking the firearms south and that the

 UC was from Albuquerque, NM and would be bringing both firearms back to Albuquerque after the

 deal concluded. The UC introduced himself and ESCOBEDO JR. introduced himself as "Saul".

 ESCOBEDO JR. closed the door and walked back to the garage with FNU LNU.

        27.    One of the two firearms purchased from ESCOBEDO JR. on July 20, 2021, is

 described as an AR-15 type firearm (pictured below), equipped with a forward grip and bearing no

 serial number or other identifiable markings (as pictured below). On July 26, 2021, a National

 Firearms Act (NFA) Records Search, identifiable with SAUL RAMIREZ ESCOBEDO JR., was

 conducted. The query revealed that there were no NFA weapons currently registered to

 ESCOBEDO JR. in the National Firearms Registration and Transfer Record (NFRTR).




        28.    On October 20, 2021, a confidential source (CS) provided criminal intelligence to a

 NMDTF Detective that MARQUEZ had provided firearms for sale to the CS between June 2021

 and October 2021. The CS had previously proven to law enforcement to be a reliable source of

 information. Conversations between MARQUEZ and the CS, using Facebook Messenger app,

 showed discussions of firearms sales and purchases subsequent to MARQUEZ’s arrest from a

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 federal arrest warrant in May 2021, and while MARQUEZ was on pretrial release. Based on my

 training and experience, I know individuals to communicate on the Facebook Messenger app by

 using their cellular phones, tablets, computers, and other electronic devices. I also know individuals

 to keep their cellular phones, tablets, computers, and other electronic devices on their person, in

 their vehicles, or in their residences. The following communication does not represent all

 conversations that took place between the CS and MARQUEZ while MARQUEZ was on pretrial

 release, and only includes conversations relative to illegal firearms activity. The following

 Facebook Messenger communication between MARQUEZ and the CS is listed chronologically and

 in verbatim form.

        29.     On or about June 21, 2021, the following discussion took place between MARQUEZ
 and the CS:
                a. MARQUEZ:




                b.   CS: How much
                c.   MARQUEZ: 180p
                d.   CS: 1800
                e.   CS: ????
                f.   MARQUEZ: Yea

     30.   On or about October 20, 2021, the following discussion took place between
 MARQUEZ and the CS:
           a. MARQUEZ:




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             b.   MARQUEZ: 6000
             c.   CS: How much for those
             d.   MARQUEZ: 1500 for both
             e.   MARQUEZ: Or 1400 for each ar
             1.   MARQUEZ:




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        31.      On October 26, 2021, your affiant was notified by the ATF Firearms and Technology

 Division (FATD) that the aforementioned firearm purchased on July 20, 2021, purchased in an

 undercover capacity, can preliminarily be determined as an Any Other Weapon (AOW), as defined

 in 26 U.S.C. § 5845(a)(5) and 26 U.S.C. § 5845(e), due to the secondary grip.

        32.      Specifically, according to 26 U.S.C. § 5845(e), a firearm requiring registration

 includes “any other weapon,” defined as “any weapon or device capable of being concealed on the

 person from which a shot can be discharged through the energy of an explosive . . . .” This broad

 definition is limited by excluding, for example, any pistol. “Pistol” is defined as “a firearm which

 has a short stock and is designed to be held and fired by the use of a single hand . . . .” 18 U.S.C.

 921(a)(29). Because the weapon ESCOBEDO JR. possessed, transferred, and made had a vertical

 foregrip, that firearm was designed to be held and fired by the use of two hands, and is therefore not

 a pistol. Because that exception and the other exceptions in 26 U.S.C. §5845(e) do not apply, the

 firearm falls within the definition of “any other weapon,” and therefore is required to be registered

 in the NFRTR.

        33.      On October 29, 2021, law enforcement agents observed ESCOBEDO JR exit an

 apartment located at 5770 29th Street, Greeley, CO 80634, believed to be Unit 116, and enter the

 driver seat of a 2010 BMW 328, grey color, with License Plate BUZ-H56. This vehicle is registered

 to SAUL ESCOBEDO JR, according to Colorado’s Department of Motor Vehicle records.

        34.      On November 1, 2021, law enforcement agents observed the grey 2010 BMW 328

 described above, arrive at 2002 28th Ave, Greeley, CO 80236. This is the location where law

 enforcement previously arrested MARQUEZ pursuant to a federal arrest warrant. Shortly after the

 grey 2010 BMW arrived at this location, law enforcement agents observed the silver 2012 Toyota

 Prius, previously described, arrive at 2002 28th Ave, Greeley, CO 80236. MARQUEZ, wearing a



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 black snow hat, an orange shirt, an orange jacket, and dark jeans, exited the driver seat of the silver

 2012 Prius. MARQUEZ was then seen interacting with an individual who matched the description

 of ESCOBEDO JR, who was wearing a white and blue hat with a red bill, a black hoodie, and grey

 sweatpants. At approximately 4:48 PM on November 1, 2021, the grey 2010 BMW drove away

 from 2002 28th Ave, Greeley, CO 80236. At approximately 5:10 PM on November 1, 2021, the

 grey 2010 BMW 328 arrived at 5770 29th Street, Greeley, CO 80634. ESCOBEDO JR exited the

 driver door of the grey 2010 BMW 328 wearing the same clothing as previously described, and

 walked towards Unit 116, which is located in an exterior hallway underneath a stairwell in building

 1 of The Reserve at West T-Bone apartment complex in Greeley, CO.

        35.     On November 2, 2021, a federal warrant was issued for tracking devices to be placed

 on the grey 2010 BMW 328 and the silver 2012 Toyota Prius described above. Since placement of

 the tracking devices, the grey 2010 BMW 238 stays overnight during the week at 5770 29th Street,

 Greeley, CO 80634, which is the current residence known to law enforcement for ESCOBEDO JR.

 Additionally, since placement of the tracking device, the silver 2012 Toyota Prius stays overnight

 during the week at 2002 28th Ave, Greeley, CO 80236, which is the current residence known to law

 enforcement for MARQUEZ.

                                               Summary

        36.     Based on the foregoing, your affiant submits that there is probable cause to believe

 that from a time unknown but not later than on or about May 6, 2021, through on or about October

 20, 2021, in the State and District of Colorado, LUIS DANIEL MARQUEZ violated federal law,

 specifically: conspiring to violate 18 U.S.C. 922(a)(1)(A), manufacturing or dealing firearms

 without a license, in violation of 18 U.S.C. § 371; and manufacturing or dealing firearms without a

 license, in violation of 18 U.S.C. 922(a)(1)(A).



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 I, Joel N. Hegarty, an ATF Special Agent, being duly sworn according to law, hereby state that the

 facts stated in the foregoing affidavit are true and correct to the best of my knowledge, information

 and belief.


                                                        /s/ Joel Hegarty
                                                        Joel Hegarty
                                                        Special Agent ATF



                         9th
 Sworn to before me this_____ day of November, 2021.



                                  ____________________________
                                  THE HON. S. KATO CREWS
                                  United States Magistrate Judge
                                  District of Colorado


 Affidavit reviewed and submitted by Garreth Winstead, Assistant United States Attorney.




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